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 1                                   UNITED STATES DISTRICT COURT

 2                                            DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                                )
 4                                                            )
                              Plaintiff,                      )       Case No.: 2:22-cr-00135-GMN-NJK-1
 5
             vs.                                              )
 6                                                            )     ORDER DENYING DEFENDANT’S
     MANUAL EDWIN MARTINEZ,                                   )     MOTION FOR RECONSIDERATION
 7                                                            )
                              Defendant.                      )
 8                                                            )
 9           Pending before the Court is the Motion for Reconsideration, (ECF No. 72), filed by
10   Defendant Manual Edwin Martinez. Defendant is charged with one count of being a Felon in
11   Possession of a Firearm in violation of 18 U.S.C. § 922(g)(1) and § 924(a)(2). (See generally
12   Indictment, ECF No. 1).
13           Defendant argues reconsideration of the Court’s Order denying his Motion to Dismiss,
14   (ECF No. 64), is warranted following the United States Court of Appeals for the Ninth Circuit’s
15   decision in United States v. Duarte, 101 F.4th 657 (9th Cir. 2024). (Mot. Reconsideration 3:17–
16   6:7). He argues that under Duarte, the Indictment must be dismissed because § 922(g)(1) is
17   unconstitutional. (Id.). After Defendant filed his Motion, the Ninth Circuit granted a rehearing
18   en banc. Duarte, 101 F.4th 657, reh’g en banc granted, opinion vacated, 2024 WL 3443151
19   (9th Cir. July 17, 2024). Because the Ninth Circuit granted a rehearing en banc, the three-judge
20   panel decision in Duarte is vacated and no longer binding except to the extent it is adopted by
21   the en banc court. 1 See Advisory Committee Notes, Fed. R. App. P. 35-1 to 35-3. Unless and
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       Even if the Ninth Circuit did not grant a rehearing en banc, Duarte does not support dismissing the Indictment.
24   The Duarte court held that § 922(g)(1) was unconstitutional as applied to the defendant Steven Duarte because
     his nonviolent crimes (vandalism, felon in possession of a firearm, possession of a controlled substance, and two
25   convictions for evading a peace officer) “were not of sufficient severity to be analogous for historical reasons for
     felon disarmament.” United States v. Harris, No. 2:20-cr-00679, 2024 WL 2260907, at *4 n.1 (D.N.J. May 17,
     2024) (citing Duarte, 101 F.4th at 691). Steven Duarte’s nonviolent predicate convictions are distinguishable

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 1   until the en banc court adopts the reasoning of the three-judge panel, the Court will adhere to
 2   the Ninth Circuit’s decision in United States v. Vonxgay, 594 F.3d 1111, 1118 (9th Cir. 2010),
 3   which upheld § 922(g)(1) against a Second Amendment challenge, and subsequent district
 4   court cases finding that § 922(g)(1) is consistent with this Nation’s historical tradition of
 5   firearm regulation. See e.g., United States v. Alvarez-Mora, No. 3:22-cr-00006, 2024 WL
 6   1638382, at *3–6 (D. Nev. Apr. 15, 2024); United States v. Brown, No. 2:22-cr-00214, 2023
 7   WL 7017622, at *5 (D. Nev. Oct. 25, 2023).
 8            Finally, the Supreme Court’s recent decision in United States v. Rahimi, 144 S. Ct. 1889
 9   (2024), does not alter this analysis. Rahimi concerned whether § 922(g)(8), which prohibits the
10   possession of firearms by persons subject to domestic violence restraining orders, infringes the
11   Second Amendment. Rahimi, 144 S. Ct. at 1895–96. The Court upheld that statute. Id. at 1898.
12   The majority’s decision turned on the necessity of an individualized finding that the defendant
13   posed a threat to the physical safety of another in cases implicating § 922(g)(8). Id. at 1901. In
14   that respect, the analysis in Rahimi does not speak to § 922(g)(1), which applies categorically to
15   adjudicated felons who possess firearms. “However, the majority’s discussion of the long
16   history of firearm regulations prohibiting dangerous persons from possessing arms aligns with
17   the conclusion of the courts above: that § 922(g)(1), limited as it is to adjudicated felons, is
18   consistent with the nation’s historical tradition of firearm regulation.” United States v. Morales,
19   No. 24-cr-84, 2024 WL 3345982, at *2 (S.D.N.Y. July 8, 2024) (citing Rahimi, 144 S. Ct. at
20   1901).
21            Accordingly, because the prohibition against felons possessing firearms found in
22   § 922(g)(1) is consistent with the Nation’s regulatory tradition of firearm regulation,
23   Defendant’s Motion for Reconsideration, (ECF No. 72), is DENIED without prejudice.
24

25   from Defendant’s violent predicate convictions for attempted murder and assault with a deadly weapon causing
     serious bodily injury. (Superseding Indictment at 2). In short, Duarte did not hold that § 922(g)(1) is facially
     unconstitutional, and the facts underlying the panel’s holding are not present here.

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 1   Defendant may renew his motion after the en banc court’s decision if it is applicable to his
 2   predicate convictions.
 3                     18
            DATED this _____ day of July, 2024.
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 6
                                                  Gloria M. Navarro, District Judge
                                                  United States District Court
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